                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE: DISTRICT OF AZ**PHOENIX


 IN THE MATTER: HARRISON, KIRESTEN               BANKRUPTCY CASE NO. 1106877 GBN
 SSN: XXX-XX-0180                                POC AMOUNT: $35,541.40
                                                 COURT CLAIM #:8


                     NOTICE OF ASSIGNMENT OF CLAIM AND
                 TRANSFEREE NOTICE OF TRANSFER OF PAYMENTS


Educational Credit Management Corporation (ECMC), the “Transferee”, does hereby
give notice to the court that it has accepted assignment of the student loan(s) included
in the proof of claim for the above-referenced debtor filed by PENNSYLVANIA HIGHER
EDUC ASST AGENCY.

Please direct all future payments and correspondence as follows:

           Correspondence:                      Payments:
           ECMC                                 ECMC
           P.O. Box 75906                       Lockbox 8682
           St. Paul, MN 55175                   P.O. Box 75848
                                                St. Paul, MN 55175-0848


Pursuant to the attached Assignment letter from PENNSYLVANIA HIGHER EDUC
ASST AGENCY the Transferor, notification and hearing has been waived with respect
to this Notice of Assignment of Claim to ECMC pursuant to Bankruptcy Rule 3001.

EDUCATIONAL CREDIT MANAGEMENT CORPORATION


 /s/ Connie Collins                                             06/07/2011
 ECMC Bankruptcy Representative                                 Date




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